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                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK

                                         Case No.: 1:22-cv-10286
 KEANNA CURTIS, Individually
 and On Behalf of All Others             CLASS ACTION COMPLAINT
 Similarly Situated,                     FOR:

              Plaintiff,                     1) VIOLATIONS OF THE
    v.                                          ELECTRONIC FUND
                                                TRANSFER ACT (“EFTA”);
 JPMORGAN CHASE BANK,                        2) BREACH OF CONTRACT;
 N.A.; and EARLY WARNING                     3) UNJUST ENRICHMENT;
 SERVICES, LLC D/B/A                         4) NEGLIGENCE;
 ZELLEPAY.COM,                               5) NEW YORK GENERAL
                                                BUSINESS LAW §§ 349 & 350
              Defendants.
                                         PLAINTIFF DEMANDS TRIAL BY
                                         JURY




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      Plaintiff Keanna Curtis (“Ms. Curtis” or “Plaintiff”) brings this complaint, by
and through her attorneys and on behalf of all others similarly situated, against
Defendants JPMorgan Chase Bank, N.A. (“Chase Bank,” or the “Bank”) and Early
Warning Services, LLC d/b/a Zellepay.com (“Zelle”) (together the “Defendants”)
and alleges:
                                    INTRODUCTION
1.    The Zelle money transfer system is rife with fraud—fraud that places all Zelle
users at an acute and immediate risk. Billions of dollars of fraudulent transactions
are processed by the service each year. Victims of Zelle fraud, like Plaintiff, are often
left devastated by such fraud, which can drain hundreds or thousands of dollars from
their bank accounts.
2.    But when Zelle fraud victims turn to Chase Bank for help, the Bank has a
simple, repeated, bad faith response: it is your fault, you are on your own, and we
will not help.
3.    The Bank’s corporate policy of “blaming the victim” is good business for the
Bank. As a partial owner of Zelle (along with several other of America’s largest
banks), the Bank has a huge incentive to get as many consumers as possible to sign
up for and use Zelle for payments and money transfers: the more consumers it can
persuade to set up an account and use Zelle, the more money the Bank saves by
avoiding transaction payments to other payment networks. Accordingly, the Bank
works with Zelle to aggressively market the Zelle service to consumers and
accountholders alike, urging them to sign up for Zelle every time they log in to online
banking, use the Bank’s mobile app, or even visit a Chase ATM.
4.    But the marketing of Zelle by Defendants, including during the quick, rushed
sign up process for Zelle in the Bank’s mobile app or website, contains materially
deceptive representations suggesting that Zelle is safe, while omitting any warnings

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regarding the acute and immediate risk of fraud. Those representations and
omissions, which Plaintiff relied upon, are false and misleading.
5.    Zelle too knows that fraud on its service is rampant, and it is on notice of
consumers’ claims, but consumers are similarly left without recourse from Zelle, just
like Chase Bank.
6.    Unlike other commonly used consumer payment systems—credit cards, debit
cards, even PayPal—Zelle has no consumer fraud protections, money transfers are
immediate and irrevocable, and neither Zelle nor the Bank will provide help in the
case of fraud. These material facts about Zelle are omitted from marketing about
Zelle promulgated by Defendants for a simple reason: no reasonable consumer
would sign up for and use the service if these facts were fairly disclosed.
7.    Having lured Chase Bank accountholders to sign up for and use the Zelle
service with deceptive and incomplete marketing promises, Defendants fail victims
of Zelle fraud in two distinct ways.
8.    First, for victims of Zelle fraud who had their access devices used by
fraudsters, the Bank maintains a massive bureaucratic apparatus designed to make it
impossible for victims to lodge a successful fraud claim. When such victims make a
claim for fraud, the Bank denies the claim without conducting a full investigation
and blames fraud victims for the fraud. As occurred with Plaintiff, the Bank
summarily rejected fraud claims without explanation or recourse.
9.    Second, for victims of Zelle fraud who were tricked into making fraudulent
transfers to fraudsters, the Bank has adopted a practice wherein any and all such
fraud reimbursement claims are denied in their entirety—with a cursory
investigation and denial of reimbursement— another instance of the Bank’s “blame
the victim” corporate policy.
10.   In both circumstances the consumer, not Chase Bank or Zelle, is left without
recourse following the fraud or unauthorized transaction by a third-party.

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11.   These policies and practices contradict Defendants’ marketing promises.
12.   These policies and practices also violate the Electronic Fund Transfer Act
(“EFTA”), a statute with the purpose of “provid[ing] a basic framework establishing
the rights, liabilities, and responsibilities of participants in electronic fund and
remittance transfer systems.” § 1693(b). “The primary objective of [the EFTA] is
the provision of individual consumer rights.” Id.
13.   These policies and practices also breach contractual promises the Bank made
and violate the duty of care owed, as discussed in detail below.
14.   Plaintiff and the Class members have been injured by signing up for and using
Zelle. Plaintiff brings this action on behalf of herself, and the putative Class, because
Plaintiff should not be left “holding the bag” for fraudulent transactions.
15.   Plaintiff seeks actual damages, punitive damages, restitution, and an
injunction on behalf of the general public to prevent Chase Bank and Zelle from
continuing to engage in their illegal practices presently and in the future as described
herein.
                              JURISDICTION AND VENUE
16.   Original subject matter jurisdiction is valid in the U.S. District Court pursuant
to 28 U.S.C. § 1331 because this case arises out of violations of federal law under
the EFTA, 15 U.S.C. §§ 1693, et seq. Jurisdiction of this Court arises pursuant to
28 U.S.C. §§ 1331 and 1367 for supplemental jurisdiction over the common law
claims.
17.   The Court also has jurisdiction pursuant to the Class Action Fairness Act, 28
U.S.C. § 1332(d)(2) because (i) there is minimal diversity; (ii) Defendants are not
government entities against whom the District Court may be foreclosed from
ordering relief; (iii) there are more than one hundred (100) people in the putative
classes; and (iv) the amount in controversy exceeds $5,000,000, exclusive of interest
and costs.

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18.    Venue is proper pursuant to 28 U.S.C. § 1391(b) because: (1) Defendants
transact business within this judicial district, Chase Bank has its principal place of
business in New York City, New York, and a substantial part of the events giving
rise to Ms. Curtis’s cause of action against Defendants arise in this judicial district;
and (2) Defendants’ contacts with this District are sufficient to subject them to
personal jurisdiction within this judicial district for Plaintiff’s causes of action.
Additionally, there is at least pendent personal jurisdiction over Zelle for Plaintiff’s
claims.
                                       PARTIES
19.    Ms. Curtis is a natural person, individual citizen and resident of New York,
County of Nassau.
20.    Upon information and belief, Chase Bank is a nationally-chartered bank with
its principal place of business in New York City, New York, which is within this
judicial district.
21.    Plaintiff is informed and believes, and thereon alleges, that Zelle is a limited
liability company established under the laws of Delaware with its principal place of
business in the State of Arizona.
22.    Zelle is a money payment platform (“MPP”) that facilitates peer-to-peer
(“P2P”) instant payment services. Zelle is owned by seven of America’s largest
banks, which includes Defendant Chase Bank.
23.    Upon information and belief, Zelle earns money for its owners and saves
participating banks money by minimizing the fees the banks are charged for
competitor P2P payment transactions.




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                     ZELLE – THE FAVORITE APP OF FRAUDSTERS
24.      Created in 2017 by America’s largest banks1 to enable digital money transfers,
Zelle now comes embedded in Chase’s banking app, or as a stand-alone service
available on the Zelle website and is now America’s most widely used money
transfer service, outpacing its closest rival (Venmo) by $260 billion in transfers in
2021.2
25.      About 1.8 billion payments—totaling $490 billion—were sent by consumers
and businesses through the Zelle Network in 2021, according to Early Warning
Services. Total dollars transferred were up 59% from 2020.3
26.      Nearly 18 million people have been victims of “widespread fraud” on money
transfer apps, according to a letter sent in late April of 2022 to Zelle by U.S. Senators
Elizabeth Warren of Massachusetts, Robert Menendez of New Jersey, and Jack Reed
of Rhode Island.4
27.      “Zelle’s biggest draw—the immediacy of its transfers—also makes scams
more effective and ‘a favorite of fraudsters,’ as consumers have no option to cancel
a transaction even moments after authorizing it,” the letter stated.
28.      The 1500 banks and credit unions who are members of the Zelle network,
including Chase Bank, know full well that they have a widespread fraud problem on

1
  JPMorgan Chase, Bank of America, Capital One, PNC, BB&T (now Truist), U.S.
  Bank and Wells Fargo.
2
  Cowley, Stacy & Nguyen, Lananh, “Fraud is Flourishing on Zelle. The Banks Say
  It Is Not Their Problem,” New York Times (March 6, 2022),
  https://www.nytimes.com/2022/03/06/business/payments-fraud-zelle-banks.html
  (last visited September 13, 2022).
3
  ZellePay.com, Nearly Half a Trillion Dollars Sent by Consumers and Businesses
  with Zelle in 2021 (February 02, 2022), https://www.zellepay.com/press-
  releases/nearly-half-trillion-dollars-sent-consumers-and-businesses-zelle-2021
  (last visited September 21, 2022).
4
  Letter from Elizabeth Warren, Robert Menendez, Jack Reed, Sen., U.S. Cong., to
  Al Ko, CEO, Early Warning Services (April 2, 2022).

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their hands but have misrepresented and failed to take steps to warn their
accountholders of these risks—or to protect their accountholders who fall prey to
fraud.
29.      Consumers are not aware that money transfer transactions with Zelle differ
from other money transfer platforms.
30.      Nor are consumers aware that the Zelle network has become a preferred tool
for fraudsters. Fraudsters and scammers have turned to Zelle as their favorite service
because transfers are immediate and unrecoverable. Zelle has an additional design
feature that makes it a fraudster’s favorite: one can become a Zelle user and recipient
without revealing their true identity.
31.      Led by Idaho Attorney General Lawrence Wasden and Oregon Attorney
General Ellen Rosenblum, a bipartisan coalition of thirty-three (33) attorneys
general wrote the Consumer Financial Consumer Protection Bureau (“CFPB”),
calling for stronger consumer safeguards for money sharing platforms and apps like
Zelle. The letter, written in response to the CFPB’s request for comments on its
inquiry into “Big Tech Payment Platforms,” noted a rise in complaints against
popular payment apps including Zelle. The letter highlighted that: “[m]any
consumers have been scammed out of hundreds or thousands of dollars by other
users of these payment platforms [like Zelle]. Scammers are attracted to real-time
payment platforms, in large part, because they do not need to reveal their true
identity to set up an account” (emphasis added).
32.      As a result, crooks are using Zelle to rob consumers when listing fake puppies
for sale, advertising phony apartments or homes to rent, threatening utility service
cut-off without immediate transfer of money, or offering extra income for wrapping
a personal car in an advertisement.5
5
    Letter from Ellen F. Rosenblum Oregon Attorney General, and Lawrence Wasden,
    Idaho Attorney General to Rohit Chopra, Director, Consumer Financial Protection

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33.   A common version of the employment scam involves fraudsters, posing as
potential employers, initially contacting individuals via text message, then through
a live interview. The fraudsters proceed to “hire” the individual, give them a faulty
check to deposit in their bank, and transfer them the money back through Zelle for
office supplies.
34.   Another common scam: a prospective buyer supposedly wants to buy an item
listed on Facebook Marketplace but then claims that the seller needs to upgrade their
Zelle app to accept money from their “business account” for the big-ticket purchase
to go through, according to a June 2022 alert by the Better Business Bureau. The
scammer supposedly puts up $300 and sends you screenshots of their Zelle app as
proof. Then, the scammer pressures you into paying them back.6
35.   “Scammers go where it’s easy to get the money. Zelle is their current
mechanism to drain consumer accounts,” warned Ed Mierzwinski, PIRG Education
Fund’s senior director of federal consumer programs. “The scammers are taking
advantage of consumers because the banks are letting them,” Mierzwinski said. “My
basic advice is don't use these apps.”7




  Bureau      (December       20,      2021),     https://www.doj.state.or.us/wp-
  content/uploads/2021/12/State-Attorneys-General-Comment-on-CFPBs-Inquiry-
  into-Big-Tech-Payment-Platforms-2021.pdf (last accessed September 21, 2022).
6
  Better Business Bureau, BBB Scam Alert: Crafty New Scam Targeting Facebook
  Marketplace Sellers (June 24, 2022), https://www.bbb.org/article/scams/27212-
  scam-alert-how-to-spot-shady-buyers-on-facebook-marketplace (last accessed
  September 21, 2022).
7
  Tompor, Susan, DTE Impersonators Drained Rochester Hills Woman’s Checking
  Accounting Using Zelle App, Detroit Free Press (June 30, 2022),
  https://www.freep.com/story/money/personal-finance/susan-
  tompor/2022/06/30/utility-shutoff-scam-stole-cash-via-zelle/7714138001/ (last
  accessed Sept. 21, 2022).

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36.     The fraud risk is so acute and immediate that if consumers use Zelle, PIRG
recommends that consumers maintain a separate bank account to link to Zelle
accounts.
37.     Scams like these are rampant on the Zelle network precisely because of Zelle’s
design and architecture, specifically that money transfer is instantaneous and
unrecoverable. Indeed, there is virtually no recourse for consumers to recoup losses
due to fraud, unlike other payment methods commonly used by American
consumers—debit cards, credit cards, and even Venmo.
38.     The unique, misrepresented, and undisclosed architecture of the Zelle
payment system, the financial relationship between Chase Bank, and Chase Bank’s
own policies specific to Zelle transactions means—again, unlike other payment
options commonly used by American consumers—that virtually any money
transferred for any reason via Zelle is gone forever, without recourse, or
reimbursement protection for victimized accountholders.
39.     Defendants did nothing to stop the problem or sufficiently warn users of the
problem prior to the harm caused to Plaintiff, for fear of suppressing new users and
use of the service by existing users and because of Defendants’ financial interests.
40.     ABC7 News reports that one longtime Chase Bank customer was tricked by
a fraudster out of $7,000 through Zelle.8
41.     Not until recently did Defendants begin providing warnings prior to Zelle
transfers to its accountholders regarding the risks of using the service and regarding
common scams to be on alert for. However, on information and belief, Chase Bank
provided none of these warnings in its Zelle marketing, much less prior to each Zelle
transfer or prior to the harm suffered by Plaintiff as alleged herein.


8
    https://abc7news.com/zelle-scam-chase-bank-refunds-zell-bofa/11317729
    (accessed on October 17, 2022)

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42.     Defendants’ warnings are still inadequate to protect consumers, in part,
because Defendants continue to market Zelle in a way that suggests it is safe to use.
43.     In October 2022, Senator Elizabeth Warren’s office published a report titled,
“Facilitating Fraud: How Consumers Defrauded on Zelle are Left High and Dry by
the Banks that Created It” (“Warren Report”).9 The Executive Summary of the
Warren Report states as follows:

        In April 2022, Senator Warren opened an investigation of Zelle and its
        owner and operator, Early Warning Services, LLC (EWS), after
        numerous reports indicated that Zelle is a preferred tool of fraudsters
        and bad actors who abuse Zelle’s instantaneous, easy-to-exploit
        transfers to defraud consumers. Zelle and EWS are owned and operated
        by a consortium of big banks, who initially refused to turn over any
        significant information on the extent of fraud on the platform.

        At a September 2022 Banking Committee hearing, Senators Warren
        and Menendez continued to press the banks for this information, and
        received a commitment from several CEOs that they would provide it
        to Congress. While JPMorgan Chase and several other banks still
        refused to make key information about fraud public, several others did
        provide the information. This report contains the findings of Senator
        Warren’s review of data received to date. It finds that:

           • Fraud and theft are rampant on Zelle – and are increasing.
             The big banks that own Zelle market the product by telling their
             customers that the platform is safe and secure. … EWS, Zelle’s
             parent company, brands itself as “innovative,” “collaborative,”
             and “trustworthy.” But PNC Bank reported that the number of
             fraud and scam claims from customers increased from 8,848 in
             2020, to a pace of over 12,300 in 2022. Similarly, U.S. Bank
             reported 14,886 fraud and scam claims on Zelle in 2020, and that
             its customers are on pace to report nearly 45,000 claims in 2022.

9
    Accessible at:
    https://www.warren.senate.gov/imo/media/doc/ZELLE%20REPORT%20OCTO
    BER%202022.pdf (last visited October 18, 2022).

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             The four banks that reported the relevant data received scam and
             fraud claims in excess of $90 million in 2020, and are on pace to
             receive scam and fraud claims in excess of $255 million in 2022.

          • Banks are not repaying the vast majority of cases where
            customers were fraudulently induced into making payments
            on Zelle. Overall, four banks reported 192,878 cases of scams –
            cases where customers reported being fraudulently induced into
            making payments on Zelle – involving over $213.8 million of
            payments in 2021 and the first half of 2022. In the vast majority
            of these cases, the banks did not repay the customers that were
            defrauded. Overall the three banks that provided full data sets
            reported repaying customers in only 3,473 cases (representing
            9.6% of scam claims) and repaid only $2.9 million (representing
            11% of payments).

          • Banks are not repaying customers who contest
            “unauthorized” Zelle payments – potentially violating
            federal law and CFPB rules. Zelle claims to have a “zero
            liability policy” for cases in which a bad actor gains access to a
            consumer’s Zelle account and uses it to make unauthorized
            payments, and the Electronic Fund Transfer Act (EFTA) and the
            Consumer Financial Protection Bureau’s (CFPB) “Regulation E”
            require that the banks repay customers when funds are illegally
            taken out of their account without authorization. But the data
            provided by the banks revealed that they reimbursed consumers
            for only 47% of the dollar amount of cases in which customers
            reported unauthorized payments on Zelle in 2021 and the first
            half of 2022.

44.   Thus, the Warren Report explains the very same facts alleged here: that major
banks that own Zelle—including Chase Bank—have given consumers the false
impression that (1) the Zelle services that they offer are safe and free from fraudulent
transactions; (2) Chase Bank will reimburse its customers for fraudulent charges
when, in fact, it largely refuses to do so; (3) Chase Bank and Zelle know the
fraudulent transactions are, in fact, fraud, and not authorized transactions conducted


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by the Chase Bank account holders; (4) Defendants are aware that fraudulent
transactions conducted through Zelle are increasing dramatically in frequency; and
(5) Defendants have failed to implement or maintain adequate safeguards to prevent
fraudulent transactions conducted through Zelle.
45.   The Warren Report further corroborates the allegations in this complaint that
Chase Bank owns and profits from Zelle, that Zelle (and, in turn, Chase Bank by
offering Zelle to its customers) and Chase Bank encourage customers to utilize
Zelle’s service for Defendants’ own profit/gain:

      Zelle’s parent company, EWS, is owned and operated by seven of the
      U.S.’ largest banks: JPMorgan Chase… EWS markets Zelle as “the
      fast, safe and easy way to send and receive money.” The company
      encourages banks and credit unions to join the Zelle Network and offer
      the product to consumers as part of their wider suite of banking
      services. Indeed, EWS pitches Zelle to the nation’s banks and credit
      unions with data suggesting that “customers using Zelle are more
      profitable and stay with the financial institution longer” than customers
      who do not use Zelle. In other words, when banks adopt and offer Zelle
      and their customers use it, banks profit. According to EWS, banks that
      offer Zelle to customers save on management costs, earn on customer
      retention and greater engagement with banking products and services,
      and “maintain a central role in [customers’/members’] financial lives.”
      It is in banks’ financial interest for consumers to use Zelle. So, while
      EWS is marketing the Zelle Network to financial institutions, those
      financial institutions are marketing Zelle to their customers …. big
      banks that own Zelle market the product by telling their customers that
      the platform is safe or secure. …
46.   Moreover, the Warren Report calls out Chase Bank for not being transparent
by stating:

      JPMorgan Chase has refused to make public the complete data on Zelle
      fraud and scams, even after its CEO, Jamie Dimon, publicly promised
      before Congress that his company would provide it.



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47.     Despite its awareness of consumer fraud on Zelle, Defendants have
knowingly, intentionally, and willfully refused to refund its customers for such
fraudulent transactions.

            THE FALSE AND MISLEADING ZELLE SIGN-UP PROCESS LURES
                ACCOUNTHOLDERS TO SIGN UP FOR AND USE ZELLE

48.     It is free to sign up with Zelle, and Zelle is integrated into Chase Bank’s
websites and mobile app.
49.     To banks, Zelle advertises itself as a way to grow and retain customers, to
reduce cash and check management costs by digitizing payments, and to create more
cross-selling opportunities that help banks’ profitability.
50.     To consumers, Zelle advertises itself as providing users with access to money
right away, as a “a fast, safe and easy way to send and receive money with friends,
family and others you trust – no matter where they bank.”10 Further, “[o]nce you’re
enrolled with Zelle, all you need is an email address or U.S. mobile phone number
to send money to friends and family straight from your banking app.”11
51.     Many Chase Bank accountholders sign up for Zelle after they have been Chase
Bank accountholders for years—often by virtue of their status as accountholders
who wish to use Chase Bank’s online banking services.
52.     During the Zelle sign-up process, Chase Bank accountholders are not
affirmatively provided with agreements or disclosures previously provided at the
time they opened their Chase Bank account.
53.     For all Chase Bank accountholders and users of Zelle, whether signed up
directly with Zelle or by mere use of their Chase Bank account, Chase Bank and
Zelle agreed to provide electronic fund transfer services.


10
     https://www.zellepay.com/security (last accessed November 16, 2022).
11
     https://www.zellepay.com/how-it-works (last accessed Nov. 22, 2022).

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54.      Absent agreement by Chase Bank and Zelle to provide electronic fund transfer
services, the transactions at issue in this lawsuit would not have occurred.
55.      Chase Bank and Zelle tell consumers that all they need to send or receive
money through Zelle is an email address or a valid U.S. mobile phone number.
Though this fact is conveyed to consumers under the guise of showcasing Zelle’s
simplicity, in actuality, Zelle requires a valid email address or U.S. mobile phone
number as a condition of Zelle providing its electronic fund transfers services.
Indeed, a valid email address or U.S. mobile phone number is the access device
issued by Zelle for consumers to initiate electronic fund transfers.
56.      Chase Bank also issues access devices to accountholders to complete Zelle
transactions by means of their U.S. checking or savings account verification
information.
57.      Chase Bank’s mobile app and online banking website feature numerous
invitations and advertisements to sign up for the Zelle service. Defendants’
advertisements and marketing for Zelle, however, are not limited to mobile apps and
online banking; they also advertise Zelle at Chase ATMs, on billboards, and by other
means. Upon information and belief, such marketing is jointly designed and
promulgated by Defendants for their mutual benefit.
58.      Chase Bank gives consumers the false impression that Zelle is safe when
promoting Zelle as an integrated service with its mobile banking application and
representing that Zelle is fast, easy, convenient and secure. Specifically, in its online
marketing about Zelle, Chase Bank makes promises that Zelle (which the Bank
previously referred to as “Chase QuickPay with Zelle”) is “a fast, easy and
convenient way to send and receive money …”12 Moreover, Chase Bank advertises



12
     https://www.chase.com/personal/zelle (accessed on October 17, 2022).

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Zelle, both online and during the Zelle signup process within the Bank’s mobile app
or website, as a “secure” service.13
59.        At best, in describing the Zelle service on Chase Bank’s website, the website
states: “Make sure you send money to people you know and trust in order to help
avoid scams and protect your account” and “We don't protect or cover purchases if
you use Zelle® to pay for goods or services.”14 Those statements, while inadequate
to inform consumers that Zelle operates differently from other payment options
commonly used by American consumers such as Venmo or Paypal and thus have
different risks, are noticeably absent from the Zelle signup process within Chase
Bank’s mobile application.
60.        Prior to the fraudulent losses incurred by Plaintiff and the Class Members, at
no time did Chase Bank, through its marketing or during Chase Bank’s sign-up
process, warn Plaintiff and the Class Members of the true security risks of using the
Zelle service—including the immediate and acute risk of fraud, the dangerous
architecture of the system and the risk that fraudulent losses will never be reimbursed
by Defendants.
61.        The Bank misrepresents (and omits facts about) the true nature, benefits, and
risks of the Zelle service, which means that users are at risk of fraud when using
Zelle. Had Plaintiff been adequately informed of these risks, she would not have
signed up for or used Zelle.
62.        Defendants’ marketing and representations about Zelle—including within its
app and website—misrepresented and never disclosed these risks and material facts,
instead luring consumers to sign up for and use the service with promises of ease,
convenience and security.


13
     Id.
14
     Id.

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63.      Defendants’ misrepresentations and omissions are especially pernicious
because Defendants alone know material facts regarding Zelle—including the
rampant fraud and theft of accountholders’ money, the details concerning the
fraudulent transactions and the parties to such transactions, and the fact that fraud-
induced Zelle transfers will almost never be reimbursed by Defendants.
                     FALSE AND MISLEADING ZELLE MARKETING
64.      Zelle advertises its money transfer services to consumers by claiming that it
is “a fast, safe and easy way to send and receive money.” It also urges consumers to
use Zelle to “[s]afely send money to friends and family, no matter where they bank,15
16
     and that consumers can “use Zelle to safely send and receive money straight from
your banking app.”
65.      Zelle encourages consumers to “pay it safe” by “look[ing] for Zelle in your
banking app[.]17”
66.      Defendants tout Zelle to accountholders as a secure, free and convenient way
to make money transfers. However, the marketing (including during the sign-up
process) misrepresents and omits a key fact about the service: there is virtually no
recourse for consumers or accountholders to recoup losses due to fraud. Indeed,
unlike virtually every other payment method commonly used by American
consumers—debit cards, credit cards, and even PayPal—there is no protection for
accountholders who are victims of fraud.
67.      The unique, misrepresented, and undisclosed architecture of the Zelle
payment system means that virtually any money transferred for any reason via Zelle

15
   “See ZellePay.com, How Zelle Works, https://www.zellepay.com/how-it-works
  (last visited August 17, 2022).
16
   See https://www.zellepay.com (last visted on October 19, 2022).
17
       See      ZellePay.com,     How    to    Pay    it     Safe     with   Zelle
  https://www.zellepay.com/financial-education/pay-it-safe (last visited August 17,
  2022).

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is gone immediately and forever, without recourse, reimbursement, or protection,
and this information is omitted during the Zelle sign-up process. Even Defendants’
online advertising does not adequately inform consumers that Zelle operates unlike
other payment options commonly used by American consumers such as Venmo or
PayPal.
68.   Worse, Defendants misrepresent and omit the truth about a practice they have
adopted: They do not and will not reimburse Zelle users for losses when they are
tricked into compromising their access devices and making Zelle transfers due to
fraud and will almost never reimburse Zelle users for losses when access devices are
stolen and their Zelle accounts are preyed upon by fraudsters—even where those
losses are timely reported.
69.   Defendants were required to accurately represent the unique features of the
Zelle service in their marketing about it and in contractual representations. But they
failed to do so.
70.   As a result, users like Plaintiff signed up for and used the Zelle service without
the benefit of complete, accurate information regarding that service, and later ended
up with huge, unreimbursed losses due to fraud. Such users never would have signed
up for Zelle if they had known the extreme risks of using the service.
71.   The acute and immediate risks described above are well known to Defendants
but were omitted from all of their Zelle marketing to Plaintiff and the Class
Members.
72.   On information and belief, the Bank uses Zelle, which it owns in part, to
insulate itself from financial liability for fraudulent and unauthorized transactions,
which saves the Bank money.
               DEFENDANTS HAVE IGNORED REGULATORY GUIDANCE
73.   Recent CFPB guidance on unauthorized Electronic Fund Transfers (“EFTs”)
indicates P2P payments are EFTs, such as transactions made with Zelle, and trigger

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“error resolution obligations” to consumers to protect them from situations where
they are fraudulently induced and requested by a third party to provide their account
information that results in authorized debits from their accounts.18
74.   Additionally, the Federal Deposit Insurance Corporation (“FDIC”) issued a
report in March 2022 finding that Regulation E’s “liability protections for
unauthorized transfers apply even if a consumer is deceived into giving someone
their authorization credentials.”19 Further, the FDIC stated that “[c]onsumer account
disclosures cannot limit protections provided for in the regulation.”20 The FDIC
stated that both the banks and MPPs are considered “financial institutions” under
Regulation E, and as such have investigative and error resolution obligations under
Regulation E.
75.   Even with this regulatory guidance, Defendants have not changed course and
provided protections for fraud.
76.   On information and belief, Defendants do not reimburse consumers for losses
from unauthorized EFTs due to Zelle fraud, even where the losses are timely
reported by consumers.
77.   On information and belief, Chase Bank has notified Zelle of each loss
sustained by the Plaintiff and the putative class members, but Zelle has not complied
with its “error resolution” obligations or investigated any of the unauthorized EFTs,


18
    Consumer Financial Protection Bureau, Electronic Fund Transfers FAQs,
  https://www.consumerfinance.gov/compliance/compliance-resources/deposit-
  accounts-resources/electronic-fund-transfers/electronic-fund-transfers-
  faqs/#financial-institutions-2 (last visited August 17, 2022).
19
   FDIC, Consumer Compliance Supervisory Highlights Federal Deposit Insurance
  Corporation                                (March                       2022),
  https://www.fdic.gov/regulations/examinations/consumer-compliance-
  supervisory-highlights/documents/ccs-highlights-march2022.pdf (last accessed
  Sept. 21, 2022).
20
   Id.

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and Zelle has failed to reimburse any of the unauthorized EFTs. Instead, Zelle’s
practice is to refer consumers back to Chase Bank.
78.     Chase Bank has not complied with its “error resolution” obligations, fails to
complete proper investigations, and has failed to reimburse any of the unauthorized
EFTs.

                   CHASE BANK BREACHES CONTRACT PROMISES
                          AND THE IMPLIED COVENANT


79.     The Bank’s Deposit Account Agreement (“Agreement 1”) applicable to
consumer accounts promises users that if they timely report fraud, such fraud will
be fairly investigated and accountholders will not be liable for fraudulent transfers.
80.     Zelle is never mentioned by name, in the Agreement 1 that accountholders
receive when opening a Chase Bank account, including in the version with Effective
date “3/20/2022.” Nor is Zelle mentioned in the Agreement 1 with the Effective
date of “10/16/2022”, which upon information and belief is the current version of
Agreement 1.
81.     Under the heading “In case of errors or questions about your electronic funds
transfers,” Agreement 1 for personal accounts states:

        We must hear from you NO LATER than 60 days after we sent you the
        FIRST statement on which the error appeared. Please provide us with
        the following:
            Your name and account number;
            A description of the error or the transaction you are unsure about,
            and why you think it is an error or want more information; and
            The amount of the suspected error.

        We will determine whether an error occurred within 10 business days
        after we hear from you and will correct any error promptly. However,
        if we need more time, we may take up to 45 days to investigate your
        complaint or question. If we do this, we will credit your account within
        10 business days for the amount you think is in error, so that you will

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      have the use of the money during the time it takes us to complete our
      investigation. If your first account deposit is less than 30 days before
      the date of the suspected error, the 10-business-day period is extended
      to 20 business days. If your first account deposit is less than 30 days
      before the date of the suspected error or the transaction occurred at a
      point-of-sale location or outside the U.S., the 45-day period is extended
      to 90 days.

      If you call us, we may require that you send us your complaint or
      question in writing within 10 business days. If we do not receive it
      within 10 business days, we may not credit your account.

      We will tell you the results within three business days after completing
      our investigation.

See Agreement 1, at Page 13.
82.   Chase Bank’s “Online Service Agreement For Consumer Customers With
Checking Accounts or Asset Management Accounts or Home Equity Lines of
Credit, with or without other non-checking accounts” (“Agreement 2”), with a
stated Effective date of “09/13/2020”, under the heading “Your Liability for
Unauthorized Transfers or Payments” states:

      If you permit other persons to use Payments and Transfers or your
      Password, you are responsible for any transactions they authorize from
      your accounts. If you believe that your Password has been lost or
      stolen or that someone has made payments, transferred or may
      transfer money from your account without your permission, notify
      us AT ONCE, by calling 1-877-242-7372 (J.P. Morgan Online
      clients only, call 877-840-0723) or writing us at Online Customer
      Service, P. O. Box 2558, Houston, TX 77252-9968.
      Tell us AT ONCE if you believe your Password has been lost or stolen
      or that an unauthorized transfer or payment has been made from any of
      your deposit or prepaid accounts. Telephoning us is the best and fastest
      way of keeping your possible losses to a minimum. If you do not do so,
      you could lose all the money in each of the accounts, as well as all of


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      the available funds in any overdraft protection account or any other
      credit line included among your accounts. If you tell us within two (2)
      Business Days after you discover the loss or theft, you are completely
      covered if someone makes a transfer or payment without your
      authorization.
      If you do not tell us within two (2) Business Days after you discover
      the loss or theft of your Password or that an unauthorized online transfer
      or payment has been made from any of your deposit or prepaid
      accounts, and we can prove we could have stopped someone from
      making a transfer or payment without your authorization if you had told
      us, you could lose as much as $500. Furthermore, if any account
      statement shows online transfers or payments that you did not make,
      tell us AT ONCE. If you do not tell us within sixty (60) days after a
      statement showing such a transfer or payment was transmitted to you,
      you may not get back any money you lost after the sixty (60) days if we
      can prove that we could have stopped someone from taking the money
      if you had told us in time.
      If a good reason, such as a long trip or hospital stay, kept you from
      telling us, we will extend the time periods.

See Agreement 2, at Section 30.1 (emphasis in original).
83.   Additionally, the Agreement 2 under the heading “Our Guarantees” states:

      In the event that money is removed from your consumer deposit
      accounts (i.e., checking or savings) or prepaid accounts with us without
      your authorization through Payments or Transfers, we will reimburse
      you 100% if you tell us within two Business Days of your discovery of
      the unauthorized transaction. (See the paragraph entitled "Your
      Liability for Unauthorized Transfers or Payments", above governing
      "Your Liability for Unauthorized Transfers.")

See Agreement 2, at Section 31.1.
84.   Moreover, Chase Bank’s Zelle Service Agreement and Privacy Notice
(“Agreement 3”), with an effective date “5/23/2021”, which upon information and
belief is the current version of Agreement 3, states under the heading “Errors and



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Questions about Service: For Transfers From Consumer Deposit Accounts and
Chase Liquid Cards Only”:

      If you think your statement is wrong, or if you need more information
      about a transaction listed on it, call or write us at the telephone number
      or address at the end of this Agreement.
      We must hear from you NO LATER than 60 days after we sent you the
      FIRST statement on which the error appeared. Please provide us with
      the following:
          Your name and account number;
          A description of the error or the transaction you are unsure about,
          and why you think it is an error or want more information; and
          The amount of the suspected error.
      We will determine whether an error occurred within 10 business days
      after we hear from you and will correct any error promptly. However,
      if we need more time, we may take up to 45 days to investigate your
      complaint or question. If we do this, we will credit your balance within
      10 business days for the amount you think is in error, so that you will
      have the use of the money during the time it takes us to complete our
      investigation. If you opened your account less than 30 days before the
      date of the suspected error, the 10-business-day period is extended to
      20 business days. If you opened your account less than 30 days before
      the date of the suspected error or the transaction occurred at a point-of-
      sale location or outside the U.S., the 45-day period is extended to 90
      days.
      If you call us, we may require that you send us your complaint or
      question in writing within 10 business days. If we do not receive it
      within 10 business days, we may not credit your balance.
      We will tell you the results within three business days after completing
      our investigation. If we decide that there was no error, we will send you
      a written explanation. You may ask for copies of the documents that we
      used in our investigation.

See Agreement 3, at Section 20.
85.   None of these three agreements specify whether Zelle transfers are governed



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by Regulation E.21 Accordingly, none of the Agreements and no correspondence by
Zelle or the Bank to consumers informs consumers of Zelle’s obligation as a
“financial institution” under Regulation E.
86.   The term “unauthorized” reasonably encompasses all transactions occurring
as a result of fraud. In other words, no fraud-induced transaction can reasonably be
considered “authorized.”
87.   As alleged with specificity herein, Chase Bank breached the Agreements,
because Chase Bank adopted an unreasonable and unfair understanding of the
Agreement’s term “unauthorized.”
88.   The Bank unfairly and improperly considers Zelle transactions induced by
fraud to be “authorized,” thus shirking fraud protection promises it otherwise makes
in the Agreements or that are required by law.
89.   The Bank requires that all accountholders participating in online banking
“agree” to Agreement 3, under which the accountholder purportedly agrees to
indemnify Zelle.
90.   Yet, whenever accountholders file claims directly with Zelle, Zelle refuses to
properly investigate, reverse or reimburse accountholders.
91.   On information and belief, even where the Chase Bank accountholder, like
Plaintiff, has not made a claim directly with Zelle, Zelle knows about the claim, yet
fails to take any investigative or remedial action.

21
  The only reference to Zelle in Agreement 2 states: “Certain payments or transfers
available through the Online Service may be subject to terms and conditions in
agreements separate from this Agreement that apply to such other services
including, but not limited to, the online wire transfer service; payroll and tax
payment services, the Chase QuickPay®with Zelle® Service and Terms for Your
Chase Pay® Wallet. Please refer to the agreements and documentation that you
receive for those services for that information.” However, that document does not
identify any website address or other means for Plaintiff and Class Members to
locate any separate agreement that may govern Zelle transactions.

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                       PLAINTIFF’S FACTUAL ALLEGATIONS
92.   When Ms. Curtis signed up for Zelle, she was not informed by either
defendant that Zelle’s service had a significant “catch” and that significant monetary
losses could result from signing up for the service—or that those losses are almost
never reimbursed by Defendants.
93.   Ms. Curtis is a young college student who was searching for a new job where
she could work remotely to accommodate her school schedule.
94.   On or about April 20, 2022, Ms. Curtis was searching online for a new job
and believed she found one when she received a text message from an individual
who went by the name of Max Segura for a remote position at “Work Fusion.”
95.   Ms. Curtis was interested in the purported remote position and began
communicating with said individual (a fraudster) who instructed her to download a
messenger application called Telegram Messenger.
96.   On or about April 21, 2022, Ms. Curtis downloaded that mobile application
and shortly after began having a conversation with an individual who went by the
name of Ronald Hutchinson.
97.   After approximately an hour of speaking with this individual (another
fraudster), Ms. Curtis was informed that she was hired for a position as
Administrative Assistant and informed her that she would receive an email from the
company that would contain a check of $1,422. Ms. Curtis was directed to resize
and print the check using the direct deposit feature through the Chase Bank mobile
application to pay for equipment and software for her position. Ms. Curtis was
directed to screenshot the entire process. In addition, the fraudster stated that a
physical check of $150 would be sent to her through the mail as a sign-on bonus.
98.   Ms. Curtis was uncertain about the instruction of resizing and depositing the
check, which led her to looking up “Work Fusion” online. After locating a Work
Fusion YouTube, Twitter, Glassdoor, and LinkedIn page, Ms. Curtis felt reassured

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that she was applying for a legitimate position.
99.   As the fraudster requested, Ms. Curtis resized, printed, and deposited the
$1,422 check. Chase Bank only released $500 and emailed Ms. Curtis to inform her
that the remaining balance would be released the next day.
100. Following the deposit of the check, the individual who went by the name of
Mr. Hutchinson further instructed Ms. Curtis to send the funds to someone that goes
by the name of Castano Penn, the person who was supposedly in charge of
purchasing and sending Ms. Curtis the equipment and software for her position. Ms.
Curtis was instructed by the “employer” to send money through Zelle. Ms. Curtis
sent the $500 to the fraudster via the Zelle feature in Chase Bank’s mobile banking
application. Mr. Hutchinson subsequently requested Ms. Curtis pay the remainder
of the check from her personal funds until the entire balance was released the next
day, but Ms. Curtis declined to do so.
101. Prior to the Zelle transaction, Ms. Curtis was not provided an adequate
warning from Chase Bank or Zelle about fraud risks.
102. The next day, on or about April 22, 2022, Ms. Curtis continued conversing
with Mr. Hutchinson and sent the remaining $900 to him through Zelle in Chase
Bank’s mobile app. However, Ms. Curtis received an error message. Prior to
checking her account, Ms. Curtis followed Ms. Hutchinson’s instructions to send
an additional $500 to him because of an alleged error from the previous transaction.
103. Later that day, the individual who went by the name Mr. Hutchinson stated
that the first payment was not enough. He sent her a $2,125 check that included Ms.
Curtis’s signing bonus and the additional $500. When Ms. Curtis deposited the
second check, Chase Bank informed her that the funds were on hold until May 3.
At this point, Ms. Curtis realized that she had been a victim of fraud.
104. That same day, after realizing the fraud, Ms. Curtis timely called and
informed Chase Bank of the fraud and reported the unauthorized electronic fund

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transfer. Chase Bank’s representative told Ms. Curtis not to worry and to send
screenshots of her conversation with the fraudsters. Ms. Curtis sent Chase Bank
over eighty-two pages of her conversations with the fraudsters.
105. On April 23, 2022, Ms. Curtis drove to a nearby Chase Bank to see if she
could submit her evidence of her conversation with the fraudsters for a faster result.
The Chase Bank representative who spoke with Ms. Curtis informed her that there
was nothing she could do for her. Later that day, Chase Bank informed Ms. Curtis
that the $1,422 check she previously deposited was fraudulent and withdrew $1,422
from Ms. Curtis’s account as well as a $12 bounced check fee.22
106. At some point before April 28, 2022, Ms. Curtis received a notification from
Chase Bank that they were unable to retrieve her funds. Chase Bank provided no
explanation, no findings of its investigation, or any information suggesting that
Chase Bank undertook any investigation of Ms. Curtis’ error reporting.
107. On information and belief, Zelle was already on notice of Ms. Curtis’s claim
based on information provided by Chase Bank. Despite Zelle having received notice
of the error and/or unauthorized electronic fund transfer on Ms. Curtis’ account,
upon information and belief, Zelle failed to conduct any investigation of the error
reporting.
108. Ms. Curtis closed her particular checking account with Chase Bank, and then
opened a new checking account, for fear of being targeted again by the fraudsters.
109. Before closing the checking account at issue, Ms. Curtis was forced to
transfer funds from her saving account with Chase Bank to her checking account in
order to avoid a fee for a negative balance of over $1,000.
110. Within a week of contacting Chase Bank to make the dispute, Ms. Curtis also
attempted to communicate with Zelle directly about the dispute. Specifically, Ms.
22
 Two $12 bounced check fees were ultimately refunded by Chase Bank on or about
 August 24, 2022.

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Curtis visited the customer service page for Zelle, and after selecting the option for
Zelle accounts through a bank, Ms. Curtis was directed to contact her bank relating
to the Zelle account. Finding this to be unsatisfactory, Ms. Curtis then selected the
option for accounts directly with Zelle, at which time Zelle electronically asked Ms.
Curtis questions about her account that frustratingly did not go anywhere because
Ms. Curtis did not have an account directly with Zelle.
111. Ms. Curtis has submitted a claim with her district attorney’s office on or
about May 20, 2022 and with the CFPB on or about July 19, 2022, concerning the
Zelle fraud.
112. To date, Defendants have refused to refund Plaintiff the total amounts of
$1,900 that were fraudulently extracted from Plaintiff’s Chase Bank account.
                                 CLASS ALLEGATIONS
113. Plaintiff brings this action on behalf of herself and on behalf of all other
persons similarly situated.
114. Plaintiff is a member of and seeks to represent a Nationwide Class, pursuant
to Fed. R. Civ. P. 23(b)(2) and/or (b)(3), defined as:

               Nationwide Class: All Chase Bank customers within the
               United States whose bank accounts with Chase Bank were
               debited via one or more transactions using the Chase Bank
               and/or Zelle mobile application and were not permanently
               credited by Defendant/s in full within 45 days of a dispute
               by the customer and/or their authorized representative
               concerning the transaction(s).

115. Plaintiff is also a member of and seeks to represent a New York Sub-Class,
pursuant to Fed. R. Civ. P. 23(b)(2) and/or (b)(3), defined as:

               New York Sub-Class: All Chase Bank customers residing
               in New York whose bank accounts with Chase Bank were
               debited via one or more transactions using the Chase Bank
               and/or Zelle mobile application and were not permanently

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              credited by Defendant/s in full within 45 days of a dispute
              by the customer and/or their authorized representative
              concerning the transaction(s).

116. Excluded from the Nationwide Class and Sub-Class are Defendants’ officers,
directors, and employees; any entity in which Defendants have a controlling interest;
and the affiliates, legal representatives, attorneys, successors, heirs, and assigns of
Defendants. Further excluded from the Nationwide Class and Sub-Class are
members of the judiciary to whom this case is assigned, their families, and members
of their staff.

117. Plaintiff reserves the right to modify the proposed class definitions, including
but not limited to expanding the class to protect additional individuals and to assert
additional sub-classes as warranted by additional investigation.
118. The proposed Nationwide Class and Sub-Class meet the criteria for certification
under Rule 23(a), (b)(2) and/or (b)(3).
119. Numerosity: The members of the Nationwide Class and Sub-Class are so
numerous that joinder of all of them is impracticable. While the exact number of
Class Members is unknown to Plaintiff at this time, on information and belief, the
Nationwide Class and Sub-Classes consists of thousands of individuals nationwide.
120. Commonality: There are questions of law and fact common to the Nationwide
      Class and Sub-Class, which predominate over any questions affecting only
      individual Class Members. These common questions of law and fact include,
      without limitation:

       a. Whether Plaintiff and the Class Members lost money that was transferred
          from their account via Zelle;

       b. Whether Plaintiff and the Class Members were customers of Chase Bank
          at the time of the unauthorized transactions;




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      c. Whether Plaintiff and the Class Members were customers of Zelle at the
         time of the unauthorized transactions;

      d. Whether Defendants violated EFTA by failing to adequately investigate
         the disputes of Plaintiff and the Class Members;

      e. Whether Defendants violated EFTA by failing to correct errors on the
         accounts of Plaintiff and the Class Members within 45 days of the
         transactions being disputed;

      f. Whether the transactions at issue were unauthorized EFTs, by way of a
         third party fraudulently obtaining access to Plaintiff’s and the Class
         Members’ accounts through fraudulent inducement, making them errors
         subject to EFTA’s remedial provisions, including Regulation E;

      g. Whether Plaintiff and the Class Members are entitled to maximum
         statutory damages, costs, and fees under EFTA;

      h. Whether Defendants’ conduct violated the state statutory claims alleged
         herein;

      i. Whether Defendants breached their covenant of good faith and fair dealing
         owed to Plaintiff and the Class Members;

      j. Whether Zelle was negligent in its actions and/or omissions;

      k. Whether Defendants have been conferred an enrichment by keeping funds
         that they were obligated to replace pursuant to Regulation E’s error
         resolution obligations; and

      l. Whether Plaintiff and the Class Members are entitled to injunctive relief
         for Defendants’ current and prospective conduct.

121. Typicality: Plaintiff’s claims are typical of those of other members of the
Nationwide Class and Sub-Class because Plaintiff was a victim of the Zelle scam
by a third party who caused a withdrawal of funds from their Chase Bank account
to occur through the Chase Bank/Zelle mobile application. After disputing that
unauthorized transaction, Plaintiff was informed by Chase Bank that the transaction
would ultimately not be reversed.


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122. Adequacy of Representation: Plaintiff will fairly and adequately represent
and protect the interests of members of the Nationwide Class and Sub-Class.
Plaintiff’s Counsel is competent and experienced in litigating consumer class
actions.
123. Predominance: Defendants have engaged in a common course of conduct
toward Plaintiff as well as the members of the Nationwide Class and Sub-Class, in
that all were induced into allowing a third party to make unauthorized withdrawals
on their Chase Bank accounts using Zelle. The common issues arising from
Defendants’ conduct affecting members of the Nationwide Class and Sub-Class set
out above predominate over any individual issues. Adjudication of these common
issues in a single action has important and desirable advantages of judicial
economy.
124. Superiority: A class action is superior to other available methods for the fair
and efficient adjudication of the controversy. Class treatment of common questions
of law and fact is superior to multiple individual actions or piecemeal litigation.
Absent a Class action, most members of the Nationwide Class and Sub-Class would
likely find that the cost of litigating their individual claims is prohibitively high and
would therefore have no effective remedy. The prosecution of separate actions by
individual members of the Nationwide Class and Sub-Class would create a risk of
inconsistent or varying adjudications with respect to individual members of the
Nationwide Class and Sub-Class, which would establish incompatible standards of
conduct for Defendants. In contrast, the conduct of this action as a Class action
presents far fewer management difficulties, conserves judicial resources and the
parties’ resources, and protects the rights of each Class Member.
125. Defendants have acted on grounds that apply generally to the Nationwide
Class and Sub-Class, so that class certification is appropriate.
126. All Members of the proposed Nationwide Class and Sub-Classes are readily

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ascertainable. Defendants have access to consumer reporting of fraudulent and/or
unauthorized transactions on their books and records. Using this information, Class
Members can be identified and ascertained for the purpose of providing notice.
127. Notice: Plaintiff anticipate providing direct notice to the members of the
Nationwide Class and Sub-Class for purposes of class certification, via U.S. Mail
and/or email, based upon Defendants’ and/or Defendants’ agents’ records.
                 FIRST CAUSE OF ACTION
VIOLATION OF THE ELECTRONIC FUND TRANSFER ACT (“EFTA”),
                  15 U.S.C. §§ 1693, ET SEQ.
 (On Behalf of All Plaintiff and the Nationwide Class Against All Defendants)

128. Plaintiff realleges and incorporates herein by reference the allegations
contained in all preceding paragraphs, and further allege as follows:
129. Plaintiff brings this count on behalf of the nationwide class or, alternatively,
on behalf of the state Sub-Class.
130. The Electronic Fund Transfer Act (“EFTA”) and Regulation E apply to
electronic fund transfers that authorize a financial institution to debit or credit a
consumer’s account. 15 U.S.C. §§ 1693 et seq.; 12 C.F.R. 1005.3(a).
131. The purpose of EFTA is “to provide a basic framework establishing the rights,
liabilities, and responsibilities of participants in electronic fund and remittance
transfer systems. The primary objective … however, is the provision of individual
consumer rights.” 15 U.S.C. §§ 1693(b).
132. The primary objective of EFTA is “the protection of individual consumers
engaging in electronic fund transfers and remittance transfers.” 12 C.F.R.
§ 1005.1(b).
133. Financial institutions have error resolution obligations in the event that a
consumer notifies the financial institution of an error. 15 U.S.C. § 1693f; 12 C.F.R.
§ 1005.11.


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134. Chase Bank is a financial institution. 15 U.S.C. § 1693a(9); 12 C.F.R.
§ 1005.2(i).
135. Zelle is an MPP and financial institution because it issues an access device
and agrees with a consumer to provide electronic fund transfer services. 15 U.S.C.
§1693a(9);12 C.F.R. § 1005.2(i).
136. “If a financial institution, within sixty days after having transmitted to a
consumer pursuant to [15 U.S.C. § 1693d(a), (c), or (d)] or notification pursuant to
[15 U.S.C. § 1693(d)] receives oral or written notice in which the consumer[:] (1)
sets forth or otherwise enables the financial institution to identify the name and the
account number of the consumer; (2) indicates the consumer’s belief that the
documentation, or, in the case of notification pursuant to [15 U.S.C. § 1693d(b)], the
consumer’s account, contains an error and the amount of such error; and (3) sets
forth the reasons for the consumer’s belief (where applicable) that an error has
occurred,” the financial institution is required to investigate the alleged error. 15
U.S.C. § 1693f(a); 12 C.F.R. § 1005.11.
137. After said investigation, the financial institution must determine whether an
error has occurred and report or mail the results of such investigation and
determination to the consumer within ten (10) business days. Id.
138. A financial institution that provisionally recredits the consumer’s account for
the amount alleged to be in error pending an investigation, however, is afforded
forty-five (45) days after receipt of notice of error to investigate. Id. § 1693f(c).
139. Pursuant to the EFTA, an error includes “an unauthorized electronic fund
transfer.” Id. § 1693f(f).
140. An Electronic Fund Transfer (“EFT”) is any transfer of funds that is initiated
through an electronic terminal, telephone, computer, or magnetic tape for the
purpose of ordering, instructing, or authorizing a financial institution to debit or
credit a consumer’s account. § 1693a(7); 12 C.F.R. 1005.3(b)(1). Accordingly,

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Regulation E applies to any P2P or mobile payment transactions that meet the
definition of EFT. 12 C.F.R. 1005.3(b)(1)(v); id., Comment 3(b)(1)-1ii.
141. Unauthorized EFTs are EFTs from a consumer’s account initiated by a person
other than the consumer without actual authority to initiate the transfer and from
which the consumer receives no benefit. § 1693a(12); 12 C.F.R. 1005.2(m).
142. According to the CFPB and FDIC, when a third party fraudulently induces a
consumer into sharing account access information that is used to initiate an EFT
from the consumer’s account, that transfer meets Regulation E’s definition of an
unauthorized EFT.23
143. In particular, Comment 1005.2(m)-3 of Regulation E explains that an
unauthorized EFT includes a transfer initiated by a person who obtained the access
device from the consumer through robbery or fraud. As such, when a consumer is
fraudulently induced into sharing account access information with a third party, and
a third party uses that information to make an EFT from the consumer’s account, the
transfer is an unauthorized EFT under Regulation E.24
144. Here, Plaintiff and Class Members (1) were fraudulently induced by third-
party scammers to transfer money through the Chase Bank/Zelle mobile app; (2) had
third-party scammers directly initiate and conduct transfers of money from their
Chase Bank accounts through Zelle; and/or (3) were fraudulently induced to provide
information to third-party scammers who then used the information fraudulently
obtained from Plaintiff and Class Members to make unauthorized EFTs from the
bank accounts of Plaintiff and other Class Members. All three of these scenarios
constitute unauthorized EFT under Regulation E.
145. After the unauthorized EFTs were made, the EFTs appeared on the bank
statements of Plaintiffs and Class Members.
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     See supra, notes 14, 15.
24
     See supra, note 14.

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146. Plaintiff and the Class Members notified Chase Bank of these errors within
sixty (60) days of their appearances on their accounts.
147. After receiving notice of the unauthorized EFTs on Plaintiff’s account, Chase
Bank nonetheless informed Plaintiff that it would deduct the full amount of all
fraudulent transactions ($1,900) from Plaintiff’s Chase Bank account because Chase
Bank erroneously concluded that the unauthorized EFT “was processed according
to the information you provided or was authorized.”
148. Within a week of contacting Chase Bank to make the dispute, Ms. Curtis also
attempted to communicate with Zelle directly about the dispute. Specifically, Ms.
Curtis visited the customer service page for Zelle, and after selecting the option for
Zelle accounts through a bank, Ms. Curtis was directed to contact her bank relating
to the Zelle account. Finding this to be unsatisfactory, Ms. Curtis then selected the
option for accounts directly with Zelle, at which time Zelle electronically asked Ms.
Curtis questions about her account that frustratingly did not go anywhere because
Ms. Curtis did not have an account directly with Zelle.
149. On information and belief, Chase Bank or its agent separately notified Zelle
of the unauthorized transactions that injured Plaintiff and the Class Members.
150. As a direct and proximate result of Defendants’ conduct, Plaintiff and Class
Members were unable to reclaim funds that were fraudulently taken from their Chase
Bank accounts within the authorized period for error resolution.
151. Upon information and belief, Defendants knowingly and willfully failed to
fulfill their obligations to investigate Plaintiff’s unauthorized transactions and
instead summarily concluded that the transfers of funds via Zelle from accounts of
Plaintiff and other Class Members were not in error; such conclusions could not
reasonably have been drawn from the evidence available to the financial institutions
at the time of the investigation. 15 U.S.C. § 1693f(e)(2). In a letter from Chase Bank
dated April 29, 2022 to Ms. Curtis, Chase Bank stated in part: “As we discussed and

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agreed, no action will be taken” and that “This inquiry is now resolved.” However,
that statement from Chase Bank was false, as Ms. Curtis did not agree that the claim
was resolved and did not agree that Chase Bank should take no further action.
152. Chase Bank has sent a similar letter to at least one other consumer who had
not agreed that the claim was closed or that no further action should be taken on the
claim. On information and belief, Chase Bank has sent similar letters to many other
consumers who submitted claims due to fraudulent or unauthorized Zelle
transactions as a means to deter consumers from pressing the claim further.
153. In a letter from Chase Bank dated May 2, 2022 to Ms. Curtis, Chase Bank
opined that the transaction “was processed according to the information you
provided or was authorized.”
154. Similarly, in a letter from Chase Bank dated May 5, 2022 to Ms. Curtis, Chase
Bank opined that the transaction “was processed according to the information you
provided or was authorized.”
155. Upon information and belief, and in violation of their regulatory obligations
under 12 C.F.R. § Pt. 205, Supp. I, Defendants limited their investigation of
Plaintiff’s claim to only the payment instructions.
156. Upon information and belief, Defendants intentionally determined that the
unauthorized transfer of funds via Zelle from accounts of Plaintiff and Class
Members were not in error due to, at least in part, the Bank’s financial self-interest
as a stakeholder in Zelle and for both Chase Bank and Zelle to avoid liability to
Plaintiff and other Class Members for the unauthorized transfers pursuant to
Regulation E.
157. Defendants, in their normal course of business, refuse to completely reverse
or refund funds (including any related service charges incurred because of the
unauthorized charges), to consumers consistent with their obligations under
Regulation E, §1005.6.

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158. As such, Plaintiff and Class Members are each entitled to (i) actual damages;
(ii) treble damages; (iii) the lesser of $500,000.00 or one percent (1%) of the net
worth of Chase Bank and Zelle; and (iv) reasonable attorneys’ fees and costs. Id. §§
1693f(e)(2), 1693m(a)(2)(B)-(3).
                SECOND CAUSE OF ACTION
 BREACH OF CONTRACT INCLUDING BREACH OF THE COVENANT
            OF GOOD FAITH AND FAIR DEALING

(Asserted on Behalf of Plaintiff, the Nationwide Class, and the New York Sub-
               Classes Against Defendant Chase Bank Only)
159. Plaintiff repeats and realleges the above allegations concerning Chase Bank
      as if fully set forth herein.
160. Plaintiff and members of the Nationwide Class contracted with Chase Bank
for checking account services, as embodied in Agreement 1, Agreement 2, and
Agreement 3.
161. Chase Bank breached the terms of its contracts with consumers when as
described herein, Chase Bank failed to refund fraudulent or unauthorized
transactions on the Zelle money transfer service and failed to reimburse
accountholders for fraud-induced losses incurred using the Zelle service.
162. Further, under the law of each of the states where Chase Bank does business,
an implied covenant of good faith and fair dealing governs every contract. The
covenant of good faith and fair dealing constrains Chase Banks’s discretion to abuse
self-granted contractual powers.
163. This good faith requirement extends to the manner in which a party employs
discretion conferred by a contract.
164. Good faith and fair dealing, in connection with executing contracts and
discharging performance and other duties according to their terms, means preserving
the spirit—not merely the letter—of the bargain. Put differently, the parties to a



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contract are mutually obligated to comply with the substance of their contract in
addition to its form. Evading the spirit of the bargain and abusing the power to
specify terms constitute examples of bad faith in the performance of contracts.
165. Subterfuge and evasion violate the obligation of good faith in performance
even when an actor believes his conduct to be justified. A lack of good faith may be
overt or may consist of inaction, and fair dealing may require more than honesty.
Other examples of violations of good faith and fair dealing are willful rendering of
imperfect performance, abuse of a power to specify terms, and interference with or
failure to cooperate in the other party’s performance.
166. Chase Bank breached the covenant of good faith and fair dealing when they
failed to fairly investigate reported fraudulent transactions on the Zelle money
transfer service, failed to reimburse accountholders for fraud-induced losses incurred
using the Zelle service, and adopted an unfair and unreasonable definition of the
term “unauthorized transaction.”
167. Each of Chase Bank’s actions were done in bad faith and were arbitrary and
capricious.
168. Plaintiff and members of the Nationwide Class have performed all of the
obligations imposed on them under the contract.
169. Plaintiff and members of the Nationwide Class have sustained monetary
damages as a result of Chase Bank’s breaches of the Agreement and covenant of
good faith and fair dealing.
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                          THIRD CAUSE OF ACTION
                           UNJUST ENRICHMENT
(Asserted on Behalf of Plaintiff, the Nationwide Class, and the New York Sub-
  Classes Against All Defendants - In the Alternative to Breach of Contract)
170. Plaintiff realleges and incorporates herein by reference the allegations
contained in all preceding paragraphs excluding Paragraphs 13, 69, 79-91, and 159-
169, and further allege as follows:
171. Plaintiff brings this count on behalf of the nationwide class or, alternatively,
on behalf of the state Sub-Class.
172. Defendants have been conferred the benefit or enrichment by keeping funds
that Defendants are otherwise obligated to replace for Plaintiff and all Class
Members pursuant to Regulation E’s error resolution obligations.
173. Defendants know and appreciate this benefit or enrichment and the detriment
or impoverishment to Plaintiff and all Class Members.
174. It is inequitable for Defendants to retain the benefit or enrichment of keeping
these funds when they know they are obligated, as financial institutions, to comply
with Regulation E and credit Plaintiff’s and all Class members’ accounts for the
amounts fraudulently taken.
175. Plaintiff and all Class Members have sustained a detriment or an
impoverishment from Defendants’ failure to remedy this inequity and are entitled to
restitution for the unjust enrichment to Defendants.
176. Plaintiff and all Class Members are entitled to restitution and disgorgement of
the funds unjustly retained by Defendants in the absence of any legal relief.
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                         FOURTH CAUSE OF ACTION
                              NEGLIGENCE
  (On Behalf of Plaintiff, the Nationwide Class, and the New York Sub-Class
          Against Defendant Early Warning Services, LLC Only)

177. Plaintiff realleges and incorporates herein by reference the allegations
contained in all preceding paragraphs, and further allege as follows:
178. Plaintiff brings this count on behalf of the nationwide class or, alternatively,
on behalf of the state Sub-Class.
179. Zelle owed Plaintiff and all Class members a duty to take reasonable steps to
adequately warn of known risks and/or dangers associated with Zelle, and to take
appropriate steps in response to a known scam involving the app to protect
consumers from malicious third parties.
180. Zelle breached its obligations to Plaintiff and all Class Members and were
otherwise negligent and/or reckless by at least:

          a. Failing to properly warn Plaintiff and all Class Members of the risks
          and/or dangers associated with Zelle or informing consumers about the
          Zelle-related scams;

          b. Failing to review account agreements and disclosures to ensure they do
          not attempt to diminish or limit consumers’ rights under Regulation E;

          c. Failing to take appropriate steps to avoid unauthorized transactions
          through Zelle in response to known scams and continuing with business
          as normal;

          d. Failing to adequately investigate and document findings from the
          investigations of fraud-related EFT disputes of the unauthorized
          transactions made on the accounts of Plaintiffs and all Class Members
          using the Zelle payment platform;

          e. Failing to implement appropriate and sufficient safeguards against
          scams of the nature alleged in the Complaint in light of the knowledge
          that those scams have been rampant across the country;


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           f. Permitting scammers to use Zelle’s member banks to siphon funds of
           Plaintiffs’ and all Class members’ accounts using the Zelle payment
           platform;

           g. Failing to reverse unauthorized transactions pursuant to Regulation E
           error resolution requirements following disputes of Plaintiffs and all Class
           Members despite Zelle’s knowledge that the transactions were
           unauthorized as part of a scam that is well-known to Zelle; and

           h. Failing to permanently reverse or refund unauthorized transactions
           upon a sufficient showing by Plaintiff and all Class Members that the
           transactions were unauthorized.

181. As a direct and proximate result of Zelle’s breaches, Plaintiff and all Class
Members lost funds and incurred unnecessary related charges.
182. Plaintiff and all Class Members are entitled to damages for their continuing
and increased risk of fraud and their loss of money.
                     FIFTH CAUSE OF ACTION
           NEW YORK GENERAL BUSINESS LAW §§ 349 and 350
 (On Behalf of Plaintiff and the New York Sub-Class Against All Defendants)

183. Plaintiff realleges and incorporates herein by reference the allegations
contained in all preceding paragraphs, and further allege as follows:
184. New York General Business Law § 349(a) prohibits “conduct of any business,
trade or commerce or in the furnishing of any service in this state” that is a “[d]eceptive
act[] or practice[].”
185. Similarly, New York General Business Law § 350 states prohibits “[f]alse
advertising in the conduct of any business, trade or commerce or in the furnishing
of any service in this state…”
186. In 1980, the New York Legislature added a private right of action in 1980 for
any person who has been injured by reason of a violation of this consumer protection
statute. See New York General Business Law § 349(h).


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187. Defendants have engaged in consumer-oriented conduct in marketing,
promoting and offering the Zelle service to consumers within New York for
personal, family or household use.
188. As described above, Defendants’ marketing of the Zelle service was
materially misleading, including in suggesting that the Zelle service is safe and
without risk. Zelle failed to disclose the pervasiveness of the risk of fraud.
189. Such representations and omissions (including omissions as to the frequency
and nature of Zelle scams), which Plaintiff relied upon, are deceptive and
misleading not only to reasonable consumers but also under the standard to protect
the “vast multitude which includes the ignorant, the unthinking and the credulous.”
See Mennen Co. v. Gillette Co., 565 F. Supp. 648, 655 (S.D.N.Y. 1983).
190. Defendants’ materially misleading statements are not protected by the “rules
and regulations of, and the statutes administered by, the federal trade commission
or any official department, division, commission or agency of the United States…”
191. As a result of Defendants’ conduct, Plaintiff and the New York Sub-Class
Members have suffered injury.
192. Plaintiff and the New York Sub-Class Members are entitled to actual
damages or fifty dollars, whichever is greater, injunctive relief, and attorneys’ fees
from Defendants. New York General Business Law § 349(h).
193. Additionally, pursuant to New York General Business Law § 349(h), Plaintiff
and the New York Sub-Class Members are each entitled to treble damages up to
one thousand dollars for Defendants’ willful or knowing violations of New York
General Business Law § 349(a).
                              PRAYER FOR RELIEF
      WHEREFORE, Plaintiff pray for relief and judgment against Defendants, and
each of them, as follows:
   • Class certification of this action;

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• Appointment of Plaintiff as Class Representative;
• Appointment of Plaintiff’s attorneys as Class Counsel;
• An award of actual damages, in an amount to be determined at trial;
• An award of treble damages against Defendants pursuant to the EFTA;
• An award of the lesser of $500,000.00 or one percent (1%) of the net worth
     of Defendants;
• Injunctive and other equitable relief against Defendants as necessary to
     protect the interests of Plaintiff and other Class and Sub-Class Members from
     Defendants’ current and prospective conduct, and an order prohibiting
     Defendants from engaging in unlawful and/or unfair acts described above,
     including public injunctive relief;
• Disgorgement;
• An order of restitution from Defendants for unjust enrichment;
• An order declaring Defendants’ conduct as unlawful;
• Costs of Suit;
• Pre and post-judgment interest;
• An award of reasonable attorneys’ fees pursuant to, inter alia, 15 U.S.C. §
     1693m(a)(2)(B)–(3) and New York General Business Law § 349(h), and the
     common fund doctrine; and
• Any other relief the Court may deem just and proper, including interest.
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                        DEMAND FOR TRIAL BY JURY
      Plaintiff, individually and on behalf of all others similarly situated, hereby
demand a jury trial on all claims so triable.

 Dated: December 5, 2022                        Respectfully submitted,

                                                 KAZEROUNI LAW GROUP, APC

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